Case 5:18-cv-00054-JPB Document 1 Filed 04/17/18 Page 1 of 9 PageID #: 1




                                                               ELECTRONICALLY
                                                                   FILED
                                                                 Apr 17 2018
                                                             U.S. DISTRICT COURT
                                                             Northern District of WV

                                                         5:18-cv-54 Bailey
Case 5:18-cv-00054-JPB Document 1 Filed 04/17/18 Page 2 of 9 PageID #: 2
Case 5:18-cv-00054-JPB Document 1 Filed 04/17/18 Page 3 of 9 PageID #: 3
Case 5:18-cv-00054-JPB Document 1 Filed 04/17/18 Page 4 of 9 PageID #: 4
Case 5:18-cv-00054-JPB Document 1 Filed 04/17/18 Page 5 of 9 PageID #: 5
Case 5:18-cv-00054-JPB Document 1 Filed 04/17/18 Page 6 of 9 PageID #: 6
Case 5:18-cv-00054-JPB Document 1 Filed 04/17/18 Page 7 of 9 PageID #: 7
Case 5:18-cv-00054-JPB Document 1 Filed 04/17/18 Page 8 of 9 PageID #: 8
Case 5:18-cv-00054-JPB Document 1 Filed 04/17/18 Page 9 of 9 PageID #: 9
